Case 3:16-md-02738-MAS-RLS Document 32181 Filed 05/15/24 Page 1 of 7 PagelD: 182587

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS
MARKETING, SALES
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION

MDL No. 16-2738 (MAS) (RLS)

THIS DOCUMENT RELATES TO
ALL CASES

ye) ORDER REGARDING CMO 9 NOTICES

THIS MATTER, having been brought before the Court by the filing of
notices of inability to substitute a party plaintiff pursuant to Case Management Order
No. 9 and Defendants Johnson & Johnson and LLT Management, Inc., f/k/a LTL
Management, Inc.’s (“Defendants”) Omnibus Response to those notices; and the
Court having considered the papers and any opposition thereto; and having

considered the arguments of counsel, if any; and for good cause shown;

IT 1S on this LOM Yay of Mass , 2024, ORDERED as follows:

1. All notices of ability to substitute the party plaintiff filed by plaintiffs
pursuant to Case Management Order 9 are hereby deemed to be notices of death for

purposes of Fed. R. Civ. P. 25.

2. All cases to which Case Management Order No. 9 applies (.e., those in

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which the plaintiff was deceased as of September 1, 2023) shall either move to
substitute a proper plaintiff or file an amended complaint pursuant to Paragraph 1 of
the Court’s October 10, 2023 Order Governing Amendments to Complaints (ECF
28519) no later than July 12, 2024.

3. If the deadline imposed in Paragraph 2 above cannot be met in an
individual case, counsel for plaintiff shall file and serve a Notice of Inability to
Substitute, using the form filed as Exhibit A to this Order no later July 12, 2024.

4, Cases that fail to comply with either the deadline in Paragraph 2 above
or the notice requirements in Paragraph 3 above shall be subject to a show cause
order as to why the case should not be dismissed with prejudice.

5. Cases in which a notice is filed pursuant to Paragraph 3 above shall
either move to substitute a proper plaintiff or file an amended complaint pursuant to
Paragraph | of the Court's October 10, 2023 Order Governing Amendments to
Complaints (ECF 28519) no later than October 10, 2024. Cases that fail to comply
with this deadline shall be subject to a show cause order as to why the case should

not be dismissed with prejudice.

RUKHSANAH L. SINGH
UNITED STATES MAGISTRATE JUDGE

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Exhibit A

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IN THE UNITED STATES
DISTRICT COURT FOR. THE
DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON MDL No. 16-2738 (MAS) (RLS)
TALCUM POWDER PRODUCTS JUDGE MICHAEL A. SHIPP
MARKETING, SALES PRACTICES, AND} MAG. JUDGE RUKHSANAH
PRODUCTS LIABILITY LITIGATION | L. SINGH

THIS DOCUMENT RELATES TO: Civil Action No. <<Docket No>>

<<DECEDENT NAME>>,

Plaintiff,
v.

JOHNSON & JOHNSON, ET AL.

Defendants.

OTICE OF I ILITY UBSTITUTE

In accordance with Case Management Order No. 9 — Status of Deceased Plaintiffs,
Counsel for Plaintiff in the above-referenced action hereby gives notice of the inability to

substitute a proper party within the timeline outlined by the CMO.

Upon information and belief, died on or about

. Counsel for Plaintiff is unable to substitute a proper party in this action,

because (select one option below):

Category One

Probate petition has been filed, but no order appointing a personal representative
has been entered.

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Name of petitioner:

Court, Case Number,
and Date filed

Remand state:

Category Two

Probate counsel has been retained, but a probate petition has not yet been filed.

Name of petitioner:

Date probate counsel
retained:

Remand state:

If it is anticipated that
the probate petition
will not be filed prior to
September 28, 2024,
please provide non~-
privileged information
in explanation:

Category Three

Next of kin has not yet been identified or retained, and probate is required to
substitute parties.

Remand state:

Counsel represents that good faith efforts have been undertaken, continuing into
calendar year 2024, to identify and retain next of kin for purposes of substitution
of parties and provide the following non-privileged information in explanation:

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Category Four

Next of kin has not yet been identified or retained, probate is not required to
substitute parties.

Remand state:

Counsel represents that good faith efforts have been undertaken, continuing
into calendar year 2024, to identify and retain next of kin and provide the
following non-privileged information in explanation:

Cite case law and/or
statute(s) that permit
substitution without
probate:

Dated:

Respectfully submitted by,

Attorneys for Plaintiff

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CERTIFICATE OF SERVICE
I hereby certify that on May 13, 2024, a copy of the foregoing document was filed via the
Court’s CM/ECF electronic filing system. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this

filing through the Court’s system.

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